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  9
                               UNITED STATES DISTRICT COURT
 10
                             CENTRAL DISTRICT OF CALIFORNIA
 11
 12
      VERNON UNSWORTH,                              Case No. 2:18-cv-08048
 13
                      Plaintiff,                    Judge: Hon. Stephen V. Wilson
 14
                vs.                                 DEFENDANT ELON MUSK’S
 15                                                 REPLY IN SUPPORT OF MOTION
                                                    TO DISMISS PLAINTIFF VERNON
 16 ELON MUSK,                                      UNSWORTH’S COMPLAINT
 17                   Defendant.                    Date: April 1, 2019
                                                    Time: 1:30 p.m.
 18                                                 Place: Courtroom 10A
 19                                                 Complaint Filed:    Sept. 17, 2018
                                                    Trial Date:         None set
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  1 I.          INTRODUCTION & SUMMARY OF FACTS
  2             This dispute began when Unsworth decided to publicly launch false and
  3 inflammatory attacks against Musk and his team of volunteer engineers who were
  4 helping the Thai government, at the government’s request, to address an intractable
  5 national tragedy. Musk and his team deployed their time, skills and resources to help
  6 in any way they could—efforts later called “expeditious and extraordinary” by
  7 Thailand’s Prime Minister.1 Only after Unsworth’s actions did Musk respond in
  8 kind. Unsworth, now casting himself a “hero” ignores all this (and the First
  9 Amendment) in his effort to prevail.
 10             On June 24, 2018, twelve Thai boys and their soccer coach were trapped in a
 11 Thai cave after a flash flood. Initial, frantic efforts to rescue the team were
 12 abandoned because of rising waters and the death of a Thai rescue diver.
 13             Given this unparalleled engineering challenge, hundreds of people online and
 14 on the ground asked Musk if he could help. Musk responded that he believed the
 15 Thai government already had the matter “under control.” 2 Nevertheless, concerned
 16 about the fate of these young men as circumstances turned more dire, and knowing
 17 that some of the world’s best engineers worked with him, Musk publicly committed
 18 to help in any way he could. In the days that followed, the Thai rescue efforts
 19 remained stalled, and representatives of the Thai government and other officials
 20 called upon Musk.
 21             Musk immediately got to work and publicly shared what he was doing so that
 22 others who were “closer to the problem” could consider it.3 Musk and fellow
 23 engineers from Tesla, SpaceX, and the Boring Company, began developing a range
 24
 25   1
      Mtn., Kaba Decl. Ex. 2 (letter from the Prime Minister of the Kingdom of Thailand
 26 to Elon Musk, dated July 26, 2018).
    2
      Elon Musk (@elonmusk), Twitter (July 4, 2019),
 27 https://twitter.com/elonmusk/status/1014509856777293825.
    3
 28 Elon Musk (@elonmusk), Twitter (July 6, 2019),
    https://twitter.com/elonmusk/status/1015355758471532549.
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  1 of solutions that could be used to save the team. On or about July 6, the first batch of
  2 Musk’s colleagues went to Chiang Rai, Thailand. As the engineers were evaluating
  3 conditions on the ground, Musk and others were feverishly, and at significant cost,
  4 applying their knowledge of transportation systems to come up with a solution. By
  5 July 7, Musk had received preliminary feedback from the teams in Thailand, and
  6 began creating something that no one had before: a child-sized mini-submarine made
  7 out of rocket parts. At the same time, the co-leader of the rescue team, with whom
  8 Musk was in regular contact, specifically implored Musk to “continu[e] with the
  9 development” of his system.4 All the while, Musk applauded the “extremely talented
 10 dive team” and “continue[d] to be amazed by the bravery, resilience & tenacity of
 11 [the] kids and diving team in Thailand. Human character at its best.”5
 12             In addition to the hyper-accelerated design and construction of the mini-
 13 submarine, Musk and his team provided resources for pumping water to help drain
 14 the rainfall and surveyed the area in an effort to increase airflow into the cave. Musk
 15 arranged to provide valuable equipment to the rescue team, including ground sump
 16 pumps, Tesla Powerwalls, underwater surveying equipment, sonar scanners, and a
 17 3D laser tracker.
 18             By July 9, Musk himself put aside his personal and professional commitments
 19 and traveled to Thailand. The country’s most senior officials, including the Prime
 20 Minister and members of the Army and Navy, greeted Musk and escorted him to the
 21 cave rescue site.
 22             By July 10, the children were rescued. Although the mini-submarine was
 23 ultimately not necessary because conditions had changed, SpaceX engineers
 24
 25   4
      Mtn., Kaba Decl. Ex. 1 (e-mail exchange between Richard Stanton and Elon Musk,
 26 dated July 7-8, 2018).
    5
      Elon Musk (@elonmusk), Twitter (July 7, 2019),
 27 https://twitter.com/elonmusk/status/1015835053807394816; Elon Musk
    (@elonmusk), Twitter (July 7, 2019),
 28 https://twitter.com/elonmusk/status/1015665633504063488.
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  1 remained in Thailand to train the Thai Navy on how to use it should it be needed in
  2 the future.
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 11
 12             The mini-submarine remains in Thailand to this day.6 The Thai Prime
 13 Minister,7 the Royal Thai Special Forces,8 and the Royal Thai Army9 all formally
 14 honored Musk and his team for their efforts.10 Musk, however, reserved his
 15 accolades for the rescue team.
 16       While Musk and his team were relieved that they were able to help the mission
 17 and returned to their professional obligations, Unsworth had something quite
 18 different in mind. On July 13, with no provocation, Unsworth went on international
 19 television to attack Musk and the other Tesla, SpaceX, and the Boring Company
 20
 21   6
      See Muktita Suhartono & Julia Jacobs, Thai Navy May Put Elon Musk’s Mini-
 22 Submarine to Use. One Day., New York Times (July 12, 2018).
    7
      Mtn., Kaba Decl. Ex. 2 (letter from the Prime Minister of the Kingdom of Thailand
 23 to Elon Musk, dated July 26, 2018).
    8
 24 Mtn. Kaba Decl. Ex. 3 (letter from Lieutenant General in the Royal Thai Army
    Special Forces, to Elon Musk, dated July 20, 2018).
 25 9 Mtn., Kaba Decl. Ex. 4 (“Royal Thai Army Special Warfare Command Certificate”
    awarded by the Royal Thai Army, to Elon Musk, dated October 9, 2018).
 26 10
       See Jamie Fullerton, Bangkok Mall Opens Thai Rescue Display, The Guardian
 27 (Aug. 31, 2018) (depicting Musk and submarine in exhibit commemorating the
    rescue).
 28                                                                        (Continued...)
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   1 engineers. The only possible explanation for Unsworth’s baseless attacks is that he
   2 was angered by Musk’s humanitarian efforts and craved public adoration for himself.
   3 In a CNN interview, Unsworth falsely characterized Musk and his team’s
   4 unprecedented efforts as “just a PR stunt” and told Musk to “stick his submarine
   5 where it hurts.”11 In fact, the Thai Prime Minister commended Musk for his
   6 “extraordinary efforts” and one of the leaders of the rescue said Musk’s submarine
   7 could be “a viable alternative in future underwater rescue scenarios.” (Compl. Ex. K.
   8 at pp. 60-61.) Likewise, Unsworth falsely claimed that Musk was “asked to leave”
   9 the dive site, when in fact Musk was invited to the site by Thai military officials who
 10 eagerly escorted him around the terrain. Unsworth was also savvy in his insults,
 11 hurling them in a way to have maximum public impact, and they did. Unsworth’s
 12 comments were widely covered in the press and amplified globally.
 13             Musk was justifiably offended that a stranger would disparage his team’s
 14 humanitarian efforts and tireless work. On July 15, Musk took to Twitter and
 15 responded to Unsworth in kind. He did so only after explaining that he had never
 16 met Unsworth and had no idea who he was. In the weeks that followed, Unsworth’s
 17 counsel tweeted at Musk and three reporters, tauntingly telling Musk to check his
 18 mail for a legal threat. More words were exchanged, and this suit followed.
 19 II.         LEGAL BACKGROUND
 20             Musk’s motion lays out the correct legal standard and dutifully applies it to the
 21 complaint as pleaded. As succinctly explained by the First Circuit, “even a provably
 22 false statement is not actionable if it is plain that the speaker is expressing a
 23 subjective view, an interpretation, a theory, conjecture, or surmise, rather than
 24 claiming to be in possession of objectively verifiable facts.” Riley v. Harr, 292 F.3d
 25 282, 289 (1st Cir. 2002) (quoting Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1227
 26
 27   11
      See CNN, Caver Calls Elon Musk’s Submarine a ‘PR Stunt,’
    https://money.cnn.com/video/technology/2018/07/15/vernon-
 28 unsworth.cnnmoney/index.html [“CNN Video”].
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   1 (7th Cir. 1993)). Applying this rule, Unsworth’s complaint fails because he cannot
   2 show “that the reasonable reader would believe Musk possessed private facts
   3 implicating Unsworth as a pedophile.” (Dkt. No. 30 (“Mtn.”) at 8.) The reasonable
   4 reader knew, among other things, that Musk’s statements were all in direct response
   5 to Unsworth’s groundless attack on Musk’s and his team’s efforts, made without
   6 having met Unsworth, cast on unmoderated internet mediums, and made in reference
   7 to well-known, disclosed tropes about Thailand. The totality of the circumstances
   8 shows that Musk’s statements were imaginative and non-literal insults. Indeed,
   9 courts have dismissed defamation claims based on statements that the plaintiff was
 10 “a sick pedophile loser,”12 had “poor feminine hygiene,”13 had “sex with a horse” and
 11 “contracted AIDS from a male prostitute,” 14 and committed acts of incest.15
 12             In contrast to Musk’s proper statement of the law, Unsworth proposes this
 13 Court apply an incorrect standard to his claim. Unsworth stakes his claim on
 14 Milkovich v. Lorain Journal, a case that Unsworth seems to believe can defeat any
 15 defamation defense. As courts have explained in other cases in which Unsworth’s
 16 counsel has been involved, that reliance is unwarranted.16
 17             Unsworth faults Musk for citing Milkovich “only twice.” There was reason for
 18 that: Milkovich has little to do with this case. Milkovich teaches how to analyze a
 19
 20   12
         Torain v. Liu, 2007 WL 2331073, at *2 (S.D.N.Y. Aug. 16, 2007), aff'd, 279 F.
      App'x 46 (2d Cir. 2008) (hereinafter, “Torain I”).
 21   13
         Krinsky v. Doe 6, 159 Cal. App. 4th 1154 (2008).
 22   14
         Finkel v. Dauber, 906 N.Y.S.2d 697 (Sup. Ct. 2010)
      15
 23      Wallace v. Geckosystems Int’l Corp., 2013 WL 4054147, at *7-8 (Del. Super. Ct.
      July 31, 2013).
 24   16
         Unsworth’s counsel has been told by courts that Milkovich doesn’t say what he
      insists it does. See Bryant v. Cox Enterprises, Inc., 715 S.E.2d 458, 466 n.29 (Ga.
 25   App. 2011) (affirming dismissal of case brought by Unsworth’s counsel and
      questioning Unsworth’s counsel’s “hyper-technical reading of the second level of
 26   falsity as set forth in Milkovich”). Likewise, Unsworth’s counsel has been told that
      Milkovich isn’t as pivotal of a decision as he seems to believe. Adelson v. Harris,
 27   973 F. Supp. 2d 467, 488 n.17 (S.D.N.Y. 2013), aff'd, 876 F.3d 413 (2d Cir. 2017)
      (granting Anti-SLAPP motion against case brought by Unsworth’s counsel and
 28   explaining that “Milkovich [has] had little impact on the law”).
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   1 statement of ostensible opinion that is really a statement of fact (e.g., “I think Jones
   2 is an alcoholic”). This case, however, involves a statement of ostensible fact that is
   3 really nonactionable opinion (e.g., “Jones is a sociopath”). As recognized in
   4 Milkovich itself, these mirror scenarios involve different doctrines. 497 U.S. 1, 16-17
   5 (1991).
   6             Unsworth claims that the motion does not “unearth a single case” holding that
   7 the reasonable reader must believe a speaker possesses a factual basis substantiating
   8 an allegedly defamatory statement. (Opp. at 7.) Again, Unsworth is wrong. Musk’s
   9 motion cited case after case dismissing defamation claims because the reasonable
 10 reader would not have believed the speaker to be “imparting knowledge of actual
 11 facts to the reader”—despite the speaker having made otherwise provably false
 12 statements in those cases.17 (Mtn. at 9 (quoting Krinsky, 159 Cal. App. 4th at 1177;
 13 Riley, 292 F.3d at 289 (“[E]ven a provably false statement is not actionable if it is
 14 plain that the speaker is expressing a subjective view, an interpretation, a theory,
 15 conjecture, or surmise, rather than claiming to be in possession of objectively
 16 verifiable facts.” (citation omitted).)
 17              Unsworth also argues that an opinion based on disclosed facts is defamatory
 18 “if the disclosed basis is false or incomplete.” (Opp. at 8.) That summary skips the
 19 most important part of the rule—to be actionable, a disclosed basis must be false or
 20 incomplete and itself defamatory. See Standing Comm. on Discipline of U.S. Dist.
 21 Ct. for C.D. Cal. v. Yagman, 55 F.3d 1430, 1439 (9th Cir. 1995) (“A statement of
 22 opinion based on fully disclosed facts can be punished only if the stated facts are
 23 themselves false and demeaning.”).
 24              Unsworth next fashions his own proposed standard, which establishes a whole
 25 new world where defamation is broad and the First Amendment is limited. For
 26
 27
    17
       For purposes of Musk’s motion to dismiss, Musk accepts the complaint’s
 28 allegations as true, including that the statements at issue were false.
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   1 example, he repeatedly cites Moldea v. New York Times Co., a case that applied
   2 Milkovich to find the New York Times liable for writing that a book contained
   3 “sloppy journalism.” 15 F.3d 1137, 1145 (D.C. Cir. 1994).
   4             That opinion remained good law for all of three months. After a petition for
   5 rehearing, the court “confess[ed] error” about its “misguided” opinion. Moldea v.
   6 New York Times Co., 22 F.3d 310, 311, 314 (D.C. Cir. 1994). That original opinion
   7 had “[u]nfortunately” concluded that under Milkovich “context was irrelevant,” when
   8 in fact “Milkovich did not disavow the importance of context.” Id. Reflecting on its
   9 mistake, the court said it learned a valuable lesson: the “First Amendment requires
 10 that we protect some falsehood in order to protect speech that matters.” Id. at 317
 11 (citations omitted).
 12              Other opinions cheered by Unsworth are equally wrong. Courts have said
 13 many things about defamation. The cases upon which Unsworth relies are those that
 14 have reached incorrect results based on thin reasoning and do real harm to free
 15 speech. This Circuit, however, has more robust protections for First Amendment
 16 activity than Unsworth lets on.
 17              Unsworth takes similar liberties with the motion’s arguments, caricaturing
 18 them to appear unreasonable. He claims, for example, that “Musk asks this Court to
 19 openly sanction one-sided Twitter warfare, where no one is safe because nobody can
 20 be held accountable and all reputations are at grave risk.” (Opp. at 8 (emphasis
 21 added).) Anyone who read Musk’s motion knows that is not what he argued.
 22 Instead, Musk showed that modern caselaw recognizes a presumption that statements
 23 made on unmoderated internet forums, like Twitter, are nonactionable opinion. See
 24 Summit Bank v. Rogers, 206 Cal. App. 4th 669, 696 (2012) (explaining that the
 25 reader “should be predisposed to view [such statements] with a certain amount of
 26 skepticism, and with an understanding that they will likely present one-sided
 27 viewpoints rather than assertions of provable facts”). And Unsworth also ignores
 28 that this factor is just one of seven that together—the “totality of circumstances”—
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   1 reveal that Musk’s statements were nonactionable opinion and therefore protected by
   2 the First Amendment. Underwager v. Channel 9 Austl., 69 F.3d 361, 366 (9th Cir.
   3 1995).
   4             In short, Unsworth’s opposition was a response to a motion Musk did not file.
   5 When applying the actual pleaded facts to the actual law tested against Musk’s actual
   6 arguments, Unsworth’s complaint fails and Musk’s motion to dismiss should be
   7 granted.
   8 III.        ARGUMENT
   9             A.    Unsworth Ignores The Controlling Legal Standard
 10              Unsworth bears the burden to “prove that the reasonable reader would believe
 11 Musk possessed private facts implicating Unsworth as a pedophile.” (Mtn. at 8; see
 12 also Troy Group, Inc. v. Tilson, 364 F. Supp. 2d 1149, 1152 (C.D. Cal. 2005) (“[T]o
 13 survive a motion to dismiss, a plaintiff must establish both that the words about
 14 which they complain are reasonably capable of sustaining a defamatory meaning,
 15 and that they are not mere comment within the ambit of the First Amendment.”
 16 (citations omitted).)
 17              The Supreme Court has repeatedly held that a statement cannot be actionable
 18 unless the reasonable reader would think that the speaker is “stating actual facts.”
 19 Milkovich, 497 U.S. at 20 (quoting Falwell, 485 U.S. at 50). In so doing, the
 20 Supreme Court has protected speech that is not “reasonably believable.” Falwell,
 21 485 U.S. at 57. For example, the Court rejected a defamation claim based on a
 22 statement describing the plaintiff’s negotiating proposals as “blackmail.” Greenbelt
 23 Co-op. Pub. Ass'n v. Bresler, 398 U.S. 6, 14 (1970). Among the reasons for rejecting
 24 this claim was that “no one in the city [where the statement was published] or
 25 anywhere else thought [the plaintiff] had been charged with a crime.” Id.
 26              Building on the Supreme Court’s principles, lower courts have crystalized this
 27 standard: “[E]ven a provably false statement is not actionable if it is plain that the
 28 speaker is expressing a subjective view, an interpretation, a theory, conjecture, or
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   1 surmise, rather than claiming to be in possession of objectively verifiable facts[.]”
   2 Gray v. St. Martin’s Press, Inc., 221 F.3d 243, 250 (1st Cir. 2000); Haynes, 8 F.3d at
   3 1227 (citing Milkovich); see also 50 Am. Jur. 2d Libel and Slander § 115 (“The kind
   4 of language used may signal to readers that a writer is not purporting to state or
   5 imply actual, known facts. The ad hominem nature of abusive epithets, vulgarities,
   6 and profanities easily identifies it as rhetorical hyperbole which, as a matter of law,
   7 cannot reasonably be understood as a statement of fact.”).
   8             Courts routinely dismiss statements of ostensible fact if the reasonable reader
   9 would not think the allegedly defamatory statement is backed by actual facts. This is
 10 true even if a statement contains specific statements of provable (or disprovable) fact.
 11 See, e.g., Torain I, 2007 WL 2331073, at *1 (statement that plaintiff was a “sick
 12 racist pedophile” was nonactionable because “no reasonable person would have
 13 believed that defendant was conveying a fact about plaintiff”); Brian v. Richardson,
 14 660 N.E.2d 1126, 1131 (N.Y. Ct. App. 1995) (statement was not actionable where its
 15 “predominant tone . . . was rife with rumor, speculation and seemingly tenuous
 16 inferences, furnish[ing] clues to the reasonable reader that [the article] was
 17 something less than serious, objective reportage”); Krinsky, 159 Cal. App. 4th at
 18 1177 (statement that plaintiff “has poor feminine hygiene” was not defamatory
 19 because “nothing in this [statement] suggested that the author was imparting
 20 knowledge of actual facts to the reader”); Geckosystems, 2013 WL 4054147, at *7-8
 21 (internet accusation that plaintiff committed acts of incest were not actionable
 22 because “[n]o ordinary reader would interpret the vitriol . . . seriously, as if they were
 23 based upon a factual foundation”); Finkel, 906 N.Y.S.2d at 702 (internet accusation
 24 that plaintiff, among other things, had “sex with a horse” and “contracted AIDS from
 25 a male prostitute” were not defamatory because the “reasonable reader, given the
 26 overall context of the posts, simply would not believe [them]”).
 27              But this Court need not return to First Amendment first principles; it can rely
 28 on the rule from Torain—a case that Unsworth incorrectly claims is distinguishable
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   1 on the facts but for which he does not contest the legal standard. See 2007 WL
   2 2331073, at *3. There, after a “war of words” between plaintiff and defendant, the
   3 defendant called the plaintiff a “racist pedophile.” Id. The court analyzed, as a
   4 matter of law, whether “considering the over-all context and the circumstances in
   5 which defendant’s statements were made,” if the “reasonable person would have
   6 believed that defendant was conveying a fact about plaintiff—i.e., that plaintiff was
   7 engaging in acts of pedophilia.” Id. It concluded that the plaintiff had not met that
   8 standard, since the context was such that “an informed listener would [not] think that
   9 defendant was accusing plaintiff of being a pedophile based on some information
 10 known only to him.” Id. (emphasis added).
 11             In fact, Unsworth understood that he was required to prove that the reasonable
 12 reader would believe Musk possessed private facts implicating Unsworth as a
 13 pedophile. He pleaded as much in his complaint. (Compl. ¶ 139 (alleging that Musk
 14 “conveyed to the world that he was in possession of undisclosed false and
 15 defamatory facts proving Mr. Unsworth to be guilty of the accusations Musk lodged
 16 against him”).) Now faced with a convincing argument that he cannot plausibly
 17 plead facts to support that allegation, Unsworth resorts to heckling—calling that
 18 standard “preposterous” and “disingenuous at best.” (Opp. at 1, 13.) But despite
 19 criticizing this standard, Unsworth cites cases proving that it is foundational. (See,
 20 e.g., Opp. at 20 (citing cases that found a statement to be defamatory when “the
 21 defendant touted his first-hand knowledge” and when the defendant “claimed to
 22 know where the plaintiff lived”).18
 23
 24   18
         The facts of PG Inn, Inc. v. Gatward, 2014 WL 108412 (Cal. App. 2014) support
      Musk’s motion. The defendant in that case was an environmental remediation expert
 25   hired by the plaintiff motel to fix its mold problem. Even though the defendant
      eliminated the mold, he went on Yelp, explained his credentials, said extensive
 26   remediation efforts had failed, and claimed that “the mold problem still exists.” Id.
      at *1. The court reasoned that the defendant’s statements were not mere “Internet
 27   rants” since he portrayed himself as “an environmental expert with first-hand
      knowledge of conditions at the Inn.” Id. at *5. In contrast, Musk made clear he was
 28                                                                            (Continued...)
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   1             B.    Unsworth Mischaracterizes and Misapplies Milkovich
   2             Unsworth’s next move is to argue that Musk’s motion “is controlled by the
   3 majority opinion in the Supreme Court of the United States’ case of Milkovich v.
   4 Lorain Journal.” (Opp. at 1.) He then faults Musk for citing “Milkovich only
   5 twice,” each time citing “openly” to Justices Brennan and Marshall’s dissent. (Id.)
   6 Unsworth’s Milkovich analysis has three flaws.
   7             First, Milkovich does not “control” this case. Milkovich is narrow. It held that
   8 even statements couched as opinions may be unprotected if they imply a defamatory
   9 factual assertion. Milkovich, 497 U.S. at 19 (“Simply couching such statements in
 10 terms of opinion does not dispel these implications….”). And it offers, as example,
 11 an often-quoted illustration: “If a speaker says, ‘In my opinion John Jones is a liar,’
 12 he implies a knowledge of facts which lead to [that] conclusion.’” Milkovich, 497
 13 U.S. at 18-19.
 14              Milkovich involves the inverse scenario to that which is presented here:
 15 statements that may look like fact but are understood as nonactionable opinion. Such
 16 statements are governed by the legal rules and cases outlined above. Milkovich itself
 17 recognizes this separate line of cases. Id. at 16-17 (describing cases establishing the
 18 “constitutional limits on the type of the speech which may be the subject of state
 19 defamation actions,” which provides protection for “rhetorical hyperbole” and
 20 “vigorous epithets”). Indeed, “Milkovich did not depart from the multi-factored
 21 analysis that had been employed for some time by lower courts seeking to distinguish
 22 between actionable fact and nonactionable opinion.” Phantom Touring, Inc. v.
 23 Affiliated Publications, 953 F.2d 724, 727 (1st Cir. 1992).
 24
 25
 26
    not delivering objective, inside information. As shown in the motion, in the cases far
 27 more analogous to the facts here, the relevant statements were found to be
    nonactionable. See, e.g., Krinsky, 159 Cal. App. 4th at 1154; Feld v. Conway, 16 F.
 28 Supp. 3d 1, 4 (D. Mass. 2014).
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   1             Second, Unsworth mistakenly believes that the Milkovich “majority forecloses
   2 [Musk’s] requests for relief.” (Opp. at 1.) But to the extent the Milkovich majority
   3 supports either party, it supports Musk. As courts have recognized, critical to
   4 Milkovich’s reasoning was that the reasonable reader would have believed the
   5 speaker to have possessed first-hand facts. While Unsworth mines the Milkovich
   6 opinion for helpful-sounding language, the case’s full context shows why the rule
   7 identified in Musk’s motion is correct:
   8                In Milkovich, the author of the article indicated that he had
   9                been at the sports event in question and had seen the
                    altercation that was at issue. He had also personally
 10
                    observed the plaintiff's testimony in an initial administrative
 11                 and later judicial hearing. In fact, the columnist described
 12                 himself as perhaps the only disinterested person to observe
                    the match and, at least, the initial testimony. In other words,
 13
                    the writer presented himself as uniquely situated to report on
 14                 factual events.
 15    Faltas v. State Newspaper, 928 F. Supp. 637, 647–48 (D.S.C.), aff'd, 155 F.3d 557
 16 (4th Cir. 1998). Given these facts, “a reader reasonably could have understood the
 17 reporter in Milkovich to be suggesting that he was singularly capable of evaluating
 18 the plaintiffs’ conduct.” Phantom Touring, 953 F.2d at 730–31 (emphasis added).
 19              Given the facts of Milkovich, courts often cite it to show the importance of
 20 first-hand knowledge by the speaker. As the Seventh Circuit explained in Haynes:
 21 “A statement of fact is not shielded from an action for defamation by being prefaced
 22 with the words ‘in my opinion,’ but if it is plain that the speaker is expressing a
 23 subjective view, an interpretation, a theory, conjecture, or surmise, rather than
 24 claiming to be in possession of objectively verifiable facts, the statement is not
 25 actionable.” 8 F.3d at 1227 (citing Milkovich, 497 U.S. at 17-21).
 26              Unsworth’s response to Haynes is unconvincing. He seems to suggest that the
 27 Seventh Circuit’s opinion results from a scrivener’s error—claiming that the Seventh
 28 Circuit “erroneously cited to Milkovich’s majority for the dissent’s proposition.”
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   1 (Opp. at 13.) By arguing—in a footnote no less—that the rule in Haynes “is not the
   2 law” because it conflates Milkovich’s dissent with its majority, Unsworth pits himself
   3 against at least 50 federal courts. Likely far more.19
   4             Third, Unsworth draws a false distinction between the Milkovich majority and
   5 dissent. This artificial dichotomy provides Unsworth what he believes is his big
   6 gotcha moment, writing in bold italics on the first page of his opposition that “Musk
   7 openly cites to Milkovich’s dissent.” (Opp. at 1.) Setting aside for now what Musk’s
   8 citations actually said, Unsworth misses the bigger point: the Milkovich majority and
   9 dissent agreed on the legal standard, disagreeing only on its application to the facts.
 10              As both the dissent and later courts have recognized, any disagreement
 11 between the two opinions was fact-bound. Id. (“I part company with the Court at the
 12 point where it applies these general rules to the statements at issue in this case.”); see
 13 also, e.g., id. at 25 (“As the majority recognizes, the kind of language used and the
 14 context in which it is used may signal readers that an author is not purporting to state
 15 or imply actual, known facts.” (emphasis added)); Kanaga v. Gannett Co., 687 A.2d
 16 173, 179 (Del. 1996) (“Justice Brennan . . . did not dispute the majority’s articulation
 17 of the legal standard, but he disagreed on the application of that standard to the facts
 18 of that case.”) Because the underlying standard in both opinions is the same, the
 19 dissent is often cited as authoritative. See, e.g., Farah v. Esquire Magazine, 736 F.3d
 20 528, 536 (D.C. Cir. 2013) (citing the Milkovich dissent as precedential since it was
 21 “agreeing with majority”); Unelko Corp. v. Rooney, 912 F.2d 1049, 1053 n.2 (9th
 22 Cir. 1990) (citing the Milkovich dissent when describing the “the threshold question
 23 in defamation suits”).
 24
 25
 26
    19
       Based on counsel’s review, it appears that at least 54 federal decisions directly
 27 quote Haynes for its “claiming to be in possession of objectively verifiable facts”
    language. This count does not include indirect citations (cases quoting the cases that
 28 quote Haynes) or cases that don’t quote Haynes’s language verbatim.
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   1             Moreover, Unsworth’s criticism that Musk’s motion “untenabl[y] reli[ed] on
   2 the Milkovich dissent” misses the mark. (Opp. at 1.) Musk cited the Milkovich
   3 dissent for the non-controversial proposition that a reasonable reader understands
   4 that parties to a pre-existing dispute are more likely to make statements that “rest
   5 [more] on passion rather than factual foundation.” Milkovich, 497 U.S. at 33 n.8
   6 (Brennan, J., dissenting). Justice Brennan himself cited a Ninth Circuit opinion for
   7 that proposition. Id. (citing Info. Control Corp. v. Genesis One Computer Corp., 611
   8 F.2d 781, 784 (9th Cir. 1980)). Dozens of other cases say the same. (See, e.g., Mtn.
   9 at 12-15 (citing cases).) Yet Unsworth made this non-issue the primary frame of his
 10 opposition. (See Opp. at 1, 7-8, 13, 19.)
 11              C.    Unsworth’s Proffered Legal Standard is Unsupported and Incorrect
 12              Understanding that the correct legal standard identified and applied in Musk’s
 13 motion defeats Unsworth’s defamation claim, Unsworth instead offers his own legal
 14 standard:
 15                    It is not the law that opinions communicating that a crime
 16                    occurred are protected “unless” they imply the existence of
                       undisclosed facts; to the contrary, statements asserted to be
 17                    opinion are unprotected “unless” the writer discloses the
 18                    underlying basis for a defamatory opinion, and “even if” the
                       basis is disclosed, opinions remain unprotected if that basis
 19                    is false or incomplete.
 20
       (Opp. at 2.) Unsworth cites no cases supporting his sweeping new defamation test.
 21
       Indeed, every important part of Unsworth’s proposed rule is wrong.
 22
                 Unsworth first sows confusion by developing a special interpretive rule for
 23
       “opinions communicating a crime,” thus making the doctrine of defamation per se a
 24
       centerpiece of his opposition. (See, e.g., Opp. at 9 (“Indeed, perhaps the clearest
 25
       example of libel per se is an accusation of a crime.” (citation and alteration omitted));
 26
       id. at 20 (summarizing a case in which “an anonymous internet posting on website
 27
       that petitioners were ‘bribed’ was defamatory per se”).)
 28
                                                  - 14 -
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   1             The defamation per se doctrine has no application to this motion. That
   2 doctrine is narrow. It relieves a defamation plaintiff of proving actual damages as an
   3 element of his claim when a defamatory statement communicates certain inherently
   4 damaging things—including involvement in a criminal activity. Clifford v. Trump,
   5 339 F. Supp. 3d 915, 925 (C.D. Cal. 2018). Because Musk did not move to dismiss
   6 based on Unsworth’s failure to plead damages, defamation per se is irrelevant. Id.
   7             Unsworth seeks to transform defamation per se from a rule of damages into a
   8 canon of interpretation. Similar attempts have consistently been rejected. See
   9 Torain I, 2007 WL 2331073, at *3 (rejecting the argument that “if you call someone
 10 a pedophile, it’s defamatory, period, if it’s not true”)20; Clifford, 339 F. Supp. 3d at
 11 919 (rejecting argument that a “tweet was defamation per se because it charged [the
 12 plaintiff] with committing a serious crime,” since the tweet in context would have
 13 been understood as a “hyperbolic statement”); Mattel, Inc. v. MCA Records, Inc., 28
 14 F. Supp. 2d 1120, 1160–61 (C.D. Cal. 1998), aff'd, 296 F.3d 894 (9th Cir. 2002)
 15 (rejecting plaintiff’s argument that “statements amount to libel per se” because the
 16 defendant “merely employed hyperbole”). And for reason. A rule that speakers
 17 cannot use language invoking criminal behavior—even as hyperbole or insult—
 18 would be an unconstitutionally blunt instrument. See Torain, 2007 WL 2331073, at
 19 *3 (“[P]ure opinions are immune from all defamation claims, even claims of per se
 20 defamation.”); see also Nat. Ass’n of Letter Carriers v. Austin, 418 U.S. 264, 272
 21
 22
 23
    20
       One of the cases Unsworth cites—Longbehn v. Schroenrock, 727 N.W.2d 153
 24 (Minn. 2007)—did apply this sort of simplistic reasoning. There, the defendant
    called the plaintiff “‘Pat the Pedophile’ because of his relationship with [an] 18-year-
 25 old woman.” Id. at 157. Even though the jury found that this statement “did not
    accuse [plaintiff] of actually being a pedophile,” the court reversed because it
 26 thought that “in almost every circumstance a reasonable listener would believe that
    calling a person a pedophile imputes serious sexual misconduct or criminal activity
 27 to that person. It is, therefore, defamatory per se.” Id. at 159. This opinion
    misapplies the defamation per se doctrine and cannot be squared with better-reasoned
 28 federal cases, including from this Circuit.
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   1 (1974) (protecting speech that “might well be deemed actionable per se in some state
   2 jurisdictions”).
   3             Unsworth next argues that “statements asserted to be opinion are unprotected
   4 ‘unless’ the writer discloses the underlying basis for a defamatory opinion.” (Opp. at
   5 2.) Again, Unsworth is wrong. It’s true that “a speaker who outlines the factual
   6 basis for his conclusion is protected by the First Amendment.” Price v. Stossel, 620
   7 F.3d 992, 1004 (9th Cir. 2010). But that’s not the only way a statement receives
   8 constitutional protection. As the Supreme Court has explained, the First Amendment
   9 protects not just opinions based on disclosed facts, but also “imaginative
 10 expressions,” “rhetorical hyperbole,” “vigorous epithets,” and so on. Milkovich, 497
 11 U.S. at 20; see also, e.g., Clifford, 339 F. Supp.3d at 927 (holding that a tweet stating
 12 that plaintiff had fabricated the commission of a crime—and that did not disclose any
 13 basis for that statement—was “rhetorical hyperbole”). These protections are time
 14 honored; experience has shown they’ve “traditionally added much to the discourse of
 15 our Nation.” Milkovich, 497 U.S. at 20.
 16              Unsworth then argues that “even if the basis is disclosed, opinions remain
 17 unprotected if that basis is false or incomplete.” (Opp. at 1.) As noted above,
 18 Unsworth’s statement of the rule is misleadingly incomplete. To be actionable, a
 19 disclosed basis must be false or incomplete and itself defamatory. See Yagman, 55
 20 F.3d at 1439 (“A statement of opinion based on fully disclosed facts can be punished
 21 only if the stated facts are themselves false and demeaning.”)
 22              Without a case that supports his standard, Unsworth turns again to Milkovich,
 23 which held that a statement was defamatory because the context did not “negate the
 24 impression that the writer was seriously maintaining that petitioner committed the
 25 crime of perjury.” (Opp. at 16 (quoting 497 U.S. at 21). But Unsworth ignores that
 26 the speaker in Milkovich was “seriously maintaining” his statement because, as later
 27 courts have explained, he gave the impression that he was communicating first-hand
 28 knowledge. See Phantom Touring, 953 F.2d at 730-31 (“[A] reader reasonably could
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   1 have understood the reporter in Milkovich to be suggesting that he was singularly
   2 capable of evaluating the plaintiffs’ conduct.”).
   3             Unsworth instead asserts that the relevant question is whether the reasonable
   4 reader thinks the speaker subjectively believes his accusation, even if it is clear to the
   5 reader that the accusation is pure “conjecture.” (Opp. at 1, 3, 13.) Thus, according to
   6 Unsworth, “[i]t is not necessary that anyone believe [allegedly defamatory
   7 statements] to be true, since the fact that such words are in circulation at all must be
   8 to some extent injurious to [a plaintiff’s] reputation.” (Id. (citation and alterations
   9 omitted).)
 10              Musk prevails under even this standard, since the reasonable reader would not
 11 have thought Musk was “seriously maintaining” that Unsworth was sexually
 12 attracted to children or engaged in sex acts with children.21 (See also infra Part II.D.)
 13 But for the reasons explained above, Unsworth’s rule is also inconsistent with
 14 precedent. Compare Opp. at 3 (“It is not necessary that anyone believe [allegedly
 15 defamatory statements] to be true.” (emphasis added)), with Dupuis v. City of
 16 Hamtramck, 502 F. Supp. 2d 654, 658 (E.D. Mich. 2007) (explaining that Supreme
 17 Court precedent requires that if a statement is not “reasonably believable”—
 18 including if it would be understood as a “crude or meanspirited” insult—then “there
 19 is no defamation”), and Torain, 2007 WL 2331073, at *1 n.1 (finding that defendants
 20 statements were nonactionable even though his public statements showed that “he
 21 truly believed plaintiff's remarks were genuine threats”), and Brian, 87 N.Y.2d at 53
 22 (holding that a statement was not actionable when the “reasonable reader would
 23
 24
 25    21
       That was, in fact, the point of Musk’s motion. In context, Musk’s statements are
    reasonably interpreted as hyperbole, invective, taunting, and the like. (See, e.g., Mtn.
 26 at 14 (“The reasonable reader of Musk’s statements would have known that they
    were mere epithets, fiery rhetoric or hyperbole.”); id. at 18 (“Musk’s statements . . .
 27 utilize the same sort of imaginative and non-literal insults that courts deem
    opinion.”). They would not be interpreted as a sincere accusation that “Unsworth is
 28 raping children.” (Opp. at 15.)
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   1 understand the statements defendant made about plaintiff as mere allegations to be
   2 investigated rather than as facts”).
   3             D.    Applying the Correct Legal Standard, Unsworth Fails to Carry His
                       Burden to Allege Actionable Defamation
   4
   5             Unsworth does not carry his burden to show that the reasonable reader would

   6 believe Musk possessed private facts implicating Unsworth as a pedophile. See Troy
   7 Group, 364 F. Supp. 2d at 1152.
   8             Unsworth’s analysis fails to consider the importance of context. “What

  9 constitutes a statement of fact in one context may be treated as a statement of opinion
 10 in another, in light of the nature and content of the communication taken as a whole.”
 11 Gregory v. McDonnell Douglas Corp., 552 P.2d 425, 428 (Cal. 1976). Thus, context
 12 is “paramount” and can alone “be dispositive.” Knievel, 393 F.3d at 1075; Koch v.
 13 Goldway, 817 F.2d 507, 509 (9th Cir. 1987) (“Context does resolve the matter.”). To
 14 determine whether a statement is factual, courts consider “the totality of the
 15 circumstances in which it was made.” Underwager, 69 F.3d at 366.
 16       The surrounding context—the “totality of the circumstances”—

 17 overwhelmingly supports Musk. Rather than consider these relevant circumstances
 18 together, Unsworth instead approaches these factors with tunnel vision—trying to
                                22
 19 pick them off one at a time. Even those arguments fail.
 20        1. Internet as Context: Unsworth argues that Musk seeks “absolute immunity”

 21 for Twitter posts. (Opp. at 17.) Not so. Instead, citing on-point precedent, Musk
 22 argues that statements made on certain unmoderated internet fora are presumptively
 23
 24    22
         Similarly, Unsworth contends that Musk’s statements “must be analyzed
       separately . . . because they were made in very different contexts.” (Opp. at 15.)
 25    This argument ignores the “totality” approach, and would be particularly
       inappropriate in a case where each statement in the dispute was part of an ongoing
 26    public battle. See, e.g., Torain, 2007 WL 2331073, at *3 (noting that the “extensive
       media coverage surrounding plaintiff's comments makes it impossible that an
 27    informed listener would think that defendant was accusing plaintiff of being a
       pedophile”); Feld, 16 F. Supp. 3d at 4 (“The tweet cannot be read in isolation, but in
 28    the context of the entire discussion.”).
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   1 nonactionable opinion. (Mtn. at 11-12 (quoting Summit Bank, 206 Cal. App. 4th at
   2 696 (explaining that the reader “should be predisposed to view [such statements]
   3 with a certain amount of skepticism, and with an understanding that they will likely
   4 present one-sided viewpoints rather than assertions of provable facts” (emphasis
   5 added)).
   6             Since the reasonable reader is reasonable, she can tell the difference between a
   7 Twitter insult (nonactionable opinion) and an official press release issued through
   8 Twitter (potentially actionable fact). Just like she can distinguish between tweets
   9 that are sometimes “official statements” of the U.S. Government and at other times
 10 mere “rhetorical hyperbole” by a high-ranking government official, even when sent
 11 from the same Twitter account.23
 12              2. Back-and-Forth Dispute: Unsworth argues that this case does not involve a
 13 “back and forth argument.” (Opp. at 18.) He reaches that conclusion by obscuring
 14 the real facts. He takes no responsibility for attacking Musk. (Opp. at 18
 15 (“[Unsworth] responded with colorful but well-founded criticisms—none of which
 16 were the kind of personal attacks leveled by Musk.”).) And he entirely ignores that
 17 his counsel reignited the dispute through his behavior on Twitter. (Mtn. at 5 n.6.)
 18              Unsworth cites only one opinion—Dickinson v. Cosby, 17 Cal. App. 5th 655,
 19 691 (2017)—for his claim that statements made in these circumstances wouldn’t be
 20 recognized as opinion. That opinion is both incorrect and non-binding. It found that
 21 a defamation claim against Bill Cosby could move forward based on statements by
 22 his lawyer that categorically denied a rape claim against Cosby. Id. at 461 (“Janice
 23 Dickinson’s story accusing Bill Cosby of rape is a lie.”). Two federal courts have
 24 rightly turned to the Constitution to reject similar defamation claims filed against
 25
 26    23
       Compare Trump v. Hawaii, 138 S. Ct. 2392, 2438 n.1 (2018) (Sotomayor, J.,
    dissenting) (“According to the White House, President Trump’s statements on
 27 Twitter are ‘official statements.’”), with Clifford v. Trump, 2018 WL 4997419, at *8
    (treating as “rhetorical hyperbole” a tweet from President Trump accusing the
 28 plaintiff of lying and calling her a “total con job”).
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   1 Cosby. See Hill v. Cosby, 665 F. App'x 169, 177 (3d Cir. 2016); McKee v. Cosby,
   2 874 F.3d 54, 63 (1st Cir. 2017); see also Leidholdt v. L.F.P. Inc, 860 F.2d 890, 893
   3 (9th Cir. 1988) (“The distinction between alleged fact and opinion is a question of
   4 federal law.”)
   5             Indeed, by the time of the BuzzFeed emails—after Unsworth’s counsel stirred
   6 the pot with sarcastic legal threats24—Musk’s statements were “highly unlikely to be
   7 understood by their audience as statements of fact.” Info. Control Corp., 611 F.2d at
   8 784 (emphasis added).
   9             3. Disclosed Facts. Though required by caselaw, Unsworth didn’t even
 10 attempt to show how Musk’s disclosed facts were “both false and defamatory.”
 11 McKee, 874 F.3d at 63. That’s because they were not.
 12              Referencing Thailand’s documented reputation, Musk first tweeted that
 13 Unsworth was “sus” for being a “British expat guy who lives in Thailand.” (Id. ¶ 73.)
 14 Later in an e-mail to Buzzfeed, Musk included a hyperlink to a Google search of
 15 “Chiang Rai child trafficking.” (Id. Ex. K, p. 56; Adelson v. Harris, 973 F. Supp. 2d
 16 at 484, aff’d, 876 F.3d 413 (2d Cir. 2017) (explaining hyperlinks are the “twenty-first
 17 century equivalent of the footnote for purposes of attribution in defamation law”);
 18 see also People v. Paniagua, 209 Cal. App. 4th 499, 521 (2012) (reasoning that the
 19 “prosecution did not [need to] explicitly tell the jury that defendant may have gone to
 20 Thailand to have sex with children” because that “was implicit in the mere mention
 21 of Thailand” (alterations omitted)).)
 22
 23    24
      These unpleaded tweets are properly considered on Musk’s motion to dismiss. To
 24 properly evaluate context, a court “must take into account all parts of the
    communication that are ordinarily heard or read with it.” Knievel v. ESPN, 393 F.3d
 25 1068 (9th Cir. 2005); Knievel v. ESPN, 393 F.3d 1068 (9th Cir. 2005); see also
    Torain v. Liu, 279 F. App'x 46, 47 n.1 (2d Cir. 2008) (holding that it was proper to
 26 consider statements made by a defamation plaintiff during a “war of words” with
    defendant, even though those statements did not appear in the complaint).
 27 For this same reason, Musk did not “flout” the Federal Rules in his motion. (Opp. at
    6 n.5.) Indeed, each exhibit attached by Musk was referenced in Unsworth’s
 28 complaint or the attached exhibits.
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   1             These facts—even if false—cannot defame Unsworth. Musk’s imaginative
   2 insults referring back to those facts can’t defame Unsworth either. McKee, 874 F.3d
   3 at 63.
   4             4. Acerbic Insults: Unsworth argues that Musk’s “accusation of pedophilia is
   5 not a typical over-the-top insult a reasonable reader would anticipate hearing.” (Opp.
   6 at 19-20.) Yet Musk’s motion cited cases protecting statements that plaintiffs had,
   7 among other things, “contracted aids from a male prostitute,” “committed acts of
   8 incest,” and had “poor feminine hygiene.” (Mtn. at 9, 18.) Indeed, such insults are
   9 less likely to be understood as fact by the reasonable reader. Dworkin v. Hustler
 10 Mag. Inc., 867 F.2d 1188, 1194 (9th Cir. 1989) (“Ludicrous statements are much less
 11 insidious and debilitating than falsities that bear the ring of truth.”); Clifford, 2018
 12 WL 4997419, at *8 (“As the United States Supreme Court has held, a published
 13 statement that is ‘pointed, exaggerated, and heavily laden with emotional rhetoric
 14 and moral outrage’ cannot constitute a defamatory statement.” (quoting Milkovich,
 15 497 U.S. at 32)).
 16              Unsworth’s attempts to distinguish these cases fall short. His treatment of
 17 Torain I is illustrative. Unsworth correctly notes that the Torain I defendant was set
 18 off by the plaintiff’s graphic statements “concerning the young daughter of [a rival]
 19 disk-jockey.” 2007 WL 2331073, at *1. He is also correct that the court reasoned an
 20 “informed listener” would understand the defendant’s comments to refer back to this
 21 dispute. Id. at *3. But then Unsworth makes an unsupportable leap in logic, arguing
 22 that Torain I does not apply because Musk wasn’t “basing his accusations of
 23 pedophilia on Unsworth’s statement that Musk ‘can stick his submarine where it
 24 hurts.’” (Opp. at 19.) Put another way, Unsworth argues that a party to a back-and-
 25 forth dispute has license to insult the content of other side’s statements and nothing
 26 else. (Id.) Torain contains no such limitation. So long as the “informed listener”
 27 will understand that the insult is not “based on some undisclosed information known
 28 only to him,” then the insult is nonactionable. 2007 WL 2331073, at *3.
                                                  - 21 -
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   1             The facts here parallel Torain I in every way that matters. The informed
   2 listener understood Musk’s insult to be based on Unsworth’s connection to Thailand.
   3 The listener likely understood that Unsworth had found joy in insulting Musk:
   4
   5
   6
   7
   8
   9
 10
 11
 12
       (See supra CNN Video; see also Torain, 2007 WL 2331073, at *2 (holding that
 13
       because the reasonable reader knew the defendant’s statements were “made in direct
 14
       response to what he considered to be plaintiff’s outrageous and offensive on-air
 15
       comments, the statements were “clearly statements of opinion”).) If Unsworth’s
 16
       insults are nonactionable, so too are Musk’s. See Jacobus v. Trump, 51 N.Y.S.3d
 17
       330, 342 (N.Y. Sup. Ct.), aff’d, 64 N.Y.S.3d 889 (N.Y. App. Div. 2017) (insults
 18
       unrelated to the content of a plaintiff’s statements were nonactionable because it
 19
       “followed plaintiff’s negative commentary about [the defendant],” which “signals to
 20
       readers that plaintiff and [defendant] were engaged in a petty quarrel”).
 21
                 5. Informal Speech: Unsworth does not address the many decisions holding
 22
       that statements that lack the “formality and polish typically found in documents []
 23
       which a reader would expect to find facts” are treated as opinion. ComputerXpress,
 24
       Inc. v. Jackson, 93 Cal. App. 4th 993, 1012 (2001); see also Global Telemedia Int’l,
 25
       Inc. v. Doe I, 132 F. Supp. 2d 1261, 1269 (C.D. Cal. 2001) (informal style “alert[s] a
 26
       reasonable reader to the fact that these observations are probably not written by
 27
       someone with authority or firm factual foundations for his beliefs”).
 28
                                                  - 22 -
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   1             He instead cites three cases for the proposition that “courts find similarly
   2 colloquial accusations actionable.” (Opp. at 20.) The first opinion is a state trial
   3 court order denying an Anti-SLAPP motion against controversial actor James
   4 Woods. (Opp. Ex. 1.) That case began with Woods tweeting: “USATODAY app
   5 features Bruce Jenner’s latest dress selection, but makes zero mention of Planned
   6 Parenthood baby parts market.”25 In direct response, a Twitter user referred to
   7 Woods as a “clown” and a “cocaine addict.” That user’s speech—a hyperbolic
   8 rebuke to Woods’s purposefully polemical tweet—should have been protected. But
   9 the court instead denied the defendant’s Anti-SLAPP because there was an “issue of
 10 fact” created by an expert linguist’s testimony about how the reasonable reader
 11 would understand the tweet. (Opp. Ex. 1.)26 This reasoning is inconsistent with the
 12 law in this Circuit that holds that “whether an allegedly defamatory statement is a
 13 statement of fact or statement of opinion is a question of law.” Info. Control, 611
 14 F.2d at 783. Neither of the remaining opinions Unsworth cites even addresses the
 15 importance of linguistic informality. See Cahill v. Edalat, 2017 WL 2608857, at *4
 16 (C.D. Cal. Feb. 15, 2017); Maxon v. Ottawa Pub. Co., 929 N.E.2d 666, 677-78 (3d
 17 Dist. 2010).
 18              6. Qualifying Language: It is not enough for Unsworth to prove that the
 19 reasonable reader would think Musk subjectively believed Unsworth could be a
 20 pedophile. (Supra Part II.A.) He must instead show that the reasonable reader thinks
 21 Musk is “claiming to be in possession of objectively verifiable facts.” Haynes, 8
 22 F.3d at 1227. With the proper frame, Musk’s tweets prove that he can’t be liable.
 23
       25
 24       See Justin Moyer, James Woods Sues Twitter User Who Called Him a ‘Cocaine
       Addict’, Washington Post (July 31, 2015).
 25    26
          Before opting to accept the legal reasoning of a paid expert linguist, the trial court
       had tentatively granted the Anti-SLAPP. See David Goldman, James Woods Can
 26    Sue a Twitter User For Calling Him a Cocaine Addict, CNN (Feb. 12, 2016) (“[T]he
       judge had tentatively ruled that the case should be thrown out. But he said he was
 27    convinced by the testimony of former USC linguistics professor Edward Finegan,
       saying that the tweet’s syntax suggested that Abe List was making a factual
 28    statement.”).
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   1 The two instances that Unsworth identifies as Musk “doubling down” in fact show
   2 that Musk told the reasonable reader he was just speculating. Musk first tweeted,
   3 “Bet ya a signed dollar bill its true,” showing that he didn’t know about Unsworth
   4 one way or another. He then tweeted “You don’t think it’s strange he hasn’t sued
   5 me?” again making clear that his speculation is unverified. See Partington v.
   6 Bugliosi, 56 F.3d 1147, 1157 (9th Cir. 1995) (“[D]efendant’s use of a question mark
   7 . . . makes clear his lack of definitive knowledge about the issue.”).
   8             Unsworth leaves even more definitive qualifying language completely
   9 unaddressed. For example, Musk explicitly told all readers (reasonable and
 10 otherwise) that he had never met Unsworth. (Compl. ¶ 73 (“Never saw [Unsworth]
 11 . . . at any point when we were in the caves.”); id. ¶ 92 (“Never saw Unsworth at any
 12 point.”).) This alone show that Musk’s statements are nonactionable. See Tipping v.
 13 Martin, 2016 WL 397088, at *5 (N.D. Tex. Feb. 2, 2016) (granting defendant’s
 14 motion to dismiss where there were “no allegations that [the defendant] had any
 15 knowledge about Plaintiff before encountering her for the first time at the [event
 16 where he allegedly defamed her], much less any knowledge concerning her personal
 17 life or the quality of her [professional] work”).
 18              7. Reader Comments: Unsworth argues—with no caselaw support—that
 19 “Musk cannot point to statements by this small group of people that they thought
 20 Musk was just kidding or engaging in hyperbole.” (Opp. at 23.) Courts disagree.
 21 See Doe v. Cahill, 884 A.2d 451, 467 (Del. 2005) (finding that a statement was
 22 opinion in part because “a[t] least one reader of the blog quickly reached the
 23 conclusion that Doe’s comments were no more than unfounded and unconvincing
 24 opinion”); Redmond v. Gawker Media, LLC, 2012 WL 3243507, at *6 (Cal. Ct. App.
 25 Aug. 10, 2012) (noting that a statement was treated as opinion by readers “[a]s
 26 shown by the comments posted” below the article). And while Unsworth identified a
 27 single commenter who thought Musk was “accusing” Unsworth of pedophilia, that
 28
                                                 - 24 -
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   1 does little to prove his case. (Opp. at 23.) He must show that reader believed Musk
   2 was “in possession of objectively verifiable facts.” Haynes, 8 F.3d at 1227.
   3 IV.         CONCLUSION
   4             For reasons known only to Unsworth, he chose to attack Musk—a total
   5 stranger—for Musk’s efforts to help the Thai government save the youth soccer
   6 team. Unsworth did so in the most public way he could: by going on international
   7 television, dismissing Musk and his team’s efforts as a mere “PR stunt,” and telling
   8 Musk to “shove” his rescue submarine “where it hurts.”
   9             From 8,000 miles away, Musk learned of Unsworth’s comments and was
 10 rightly angered that his and his teams’ efforts were being slandered. Musk’s
 11 responses have all the hallmarks of nonactionable opinion. They were made in direct
 12 response to Unsworth’s unjustified and false personal attacks. They disclaimed any
 13 first-hand basis. Musk’s statements were made on unmoderated internet forums
 14 where readers know to expect opinion, not facts. They were written with informality
 15 and emotion. And they traded on a disclosed, well-known trope about Thailand.
 16              In these circumstances, the reasonable reader would not believe Musk’s
 17 insults. Unsworth’s complaint should be dismissed.
 18
 19 Dated: March 18, 2019                       HUESTON HENNIGAN LLP
 20
 21                                             By: /s/ Moez M. Kaba
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